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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION
                                  LEXINGTON

UNITED STATES OF AMERICA,                             CRIMINAL 5:23-CR-68-KKC-MAS-1
       Plaintiff,

V.                                                                     ORDER

JONATHAN DANIEL MITCHEM

       Defendant.


                                           *** *** ***

     This matter was referred to Magistrate Judge Stinnett for the purpose of conducting

rearraignment proceedings for the above defendant. The Magistrate Judge has filed a

recommendation (DE 24) that the Court accept the defendant’s guilty plea and that the defendant

be adjudged guilty of Count 1 of the Indictment. No objections have been filed and, having

reviewed the record, the Court finds that the Magistrate Judge satisfied all requirements of Federal

Rule of Criminal Procedure and the United States Constitution. Accordingly, the Court hereby

adopts the Magistrate Judge’s Recommendation and accepts the defendant’s plea of guilty.

     This 15th day of September, 2023.




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